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UNITED STATES DISTRICT COURT .* ;
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CENTRAL DISTRICT OF CALIFORNIA

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Case No. CR 15-00704 sJO Date: L/-/5~ ZO LP

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Time: 7 a y
JURY NOTE NUMBER /

THE JURY HAS REACHED A UNANIMOUS VERDICT

a THE JURY REQUESTS THE FOLLOWING: - .
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